Case 2:18-mj-02791-DUTY Document 41 Filed 11/01/18 Page 1 of 1 Page ID #:151



   1   JOHN NEIL McNICHOLAS, ESQ.
       CA Bar No.: 138304
   2   McNICHOLAS LAW OFFICE
       464 Palos Verdes Blvd.
   3   Redondo Beach, CA 90277
       (310) 545-0780
   4   (310) 546-6831- FAX
       john@mcnicholaslawoffice.com
   5   Attorney for Defendant,
       Aaron Eason
   6
   7                         UNITED STATES DISTRICT COURT
   8                       CENTRAL DISTRICT OF CALIFORNIA
   9
  10    UNITED STATES OF AMERICA,
                                                   Case No. 18MJ02791
  11                 Plaintiff,
                                                  EXHIBITS 3-7 OF
  12    vs.                                       DEFENDANT’S
                                                  MEMORANDUM IN SUPPORT
  13    AARON EASON,                              OF HIS RELEASE PENDING
                                                  TRIAL
  14                 Defendant.
  15          Defendant, AARON EASON (“Mr. Eason”), by and through his attorney of
  16   record, John Neil McNicholas, hereby submits the following Exhibits 3 through 7
  17   of his memorandum in support of his request to be released pending trial.
  18          DATED this 1st day of November, 2018.
  19
  20                                              McNICHOLAS LAW OFFICE
  21
                                                  By /s/
  22                                              JOHN NEIL McNICHOLAS, ESQ.
                                                  Attorney for Defendant,
  23                                              AARON EASON
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